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                                                                                                  UNITED STATES DISTRICT COURT
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                9
                                                                    IN RE: CATHODE RAY TUBE (CRT)                          Master File No. M:07-5994-SC
                                                               10   ANTITRUST LITIGATION                                   MDL No. 1917
                                                               11   This Document Relates to                               Case No. 3:11-cv-05513-SC
                              A TTORNEYS A T L AW




                                                               12   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,
                                               L OS A NGELES




                                                                    et al., No. 11-cv-01656;
                                                               13                                                          STIPULATION AND [PROPOSED]
                                                                    Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;      ORDER EXTENDING THE
                                                               14                                                          DEADLINE TO FILE MOTION TO
                                                                    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,   COMPEL PHILIPS TO RESPOND
                                                               15   No. 11-cv-05513;                                       TO DIRECT ACTION PLAINTIFFS
                                                                                                                           AND INDIRECT PURCHASER
                                                               16   Target Corp., et al. v. Chunghwa Picture Tubes,        PLAINTIFFS’ FIRST SET OF
                                                                    Ltd., et al., No. 11-cv-05514;                         REQUESTS FOR ADMISSION
                                                               17
                                                                    Interbond Corporation of America v. Hitachi, et
                                                               18   al., No. 11-cv-06275;
                                                               19   Office Depot, Inc. v. Hitachi, Ltd., et al., No.
                                                                    11-cv-06276;
                                                               20
                                                                    CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                                               21   No. 11-cv-06396;
                                                               22   Costco Wholesale Corporation v. Hitachi, Ltd., et
                                                                    al., No. 11-cv-06397;
                                                               23
                                                                    P.C. Richard & Son Long Island Corporation, et
                                                               24   al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                                               25   Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                                                    et al., No. 12-cv-02649;
                                                               26
                                                                    Tech Data Corporation, et al. v. Hitachi, Ltd., et
                                                               27   al., No. 13-cv-00157;
                                                               28   Sharp Electronics Corp., et al. v. Hitachi, Ltd., et
                                                                                                                            STIPULATION AND [PROPOSED] ORDER EXTENDING
                                                                    60835670.1                                              THE DEADLINE TO FILE MOTION TO COMPEL PHILIPS
                                                                                                                            TO RESPOND TO PLAINTIFFS’ FIRST SET OF REQUESTS
                                                                                                                            FOR ADMISSION
                                                                      Case 3:07-cv-05944-JST Document 2884 Filed 10/02/14 Page 2 of 5


                                                                    al., No. 13-cv-01173;
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                                                                    Dell Inc. and Dell Products L.P. v. Hitachi, Ltd.,
                                                                2   et al., No. 13-cv-02171;

                                                                3   Sharp Electronics Corp. et al. v. Koninklijke
                                                                    Philips Electronics, N.V., et al., No. 13-cv-
                                                                4   02776;

                                                                5   Siegel v. Technicolor SA, et al., No. 13-cv-05261;

                                                                6   Sears, Roebuck and Co., et al. v. Technicolor SA,
                                                                    No. 13-cv-05262;
                                                                7
                                                                    Best Buy Co., Inc., et al. v. Technicolor SA, et al.,
                                                                8   No. 13-cv-05264;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9   Schultze Agency Services, LLC v. Technicolor
                                                                    SA, et al., No. 13-cv-05668;
                                                               10
                                                                    Target Corp., v. Technicolor SA, et al., No. 13-
                                                               11   cv-05686;
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                                                               12   Costco Wholesale Corporation v. Technicolor
                                               L OS A NGELES




                                                                    SA,, et al., No. 13-cv-005723;
                                                               13
                                                                    Electrograph Systems, Inc., et al. v. Technicolor
                                                               14   SA, et al., No. 13-cv-05724;

                                                               15   P.C. Richard & Son Long Island Corporation, et
                                                                    al. v. Technicolor SA, et al., No. 13-cv-05725;
                                                               16
                                                                    Office Depot, Inc. v. Technicolor SA, et al., No.
                                                               17   13-cv-05726;

                                                               18   Interbond Corporation of America v. Technicolor
                                                                    SA, et al., No. 13-cv-05727.
                                                               19
                                                                    ViewSonic Corporation, v. Chunghwa Picture
                                                               20   Tubes, Ltd., et al., 3:14cv-02510;

                                                               21   The Indirect Purchaser Action.

                                                               22
                                                                             This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel
                                                               23
                                                                    Philips to Respond to Direct Action Plaintiffs and Indirect Purchaser Plaintiff’s First Set of
                                                               24
                                                                    Requests for Admission between the Direct Action Plaintiffs and Indirect Purchaser Class
                                                               25
                                                                    (collectively “Plaintiffs”), on the one hand, and defendants Koninklijke Philips Electronics N.V.
                                                               26
                                                                    and Philips Electronics North America Corporation (collectively, “Philips”), on the other hand, is
                                                               27
                                                                    made with respect to the following facts and recitals:
                                                               28
                                                                                                                             STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                    60835670.1                                      -2-      DEADLINE TO FILE MOTION TO COMPEL PHILIPS TO
                                                                                                                             RESPOND TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                                                                                                                             ADMISSION
                                                                      Case 3:07-cv-05944-JST Document 2884 Filed 10/02/14 Page 3 of 5



                                                                1            WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of

                                                                2   fact discovery for September 5, 2014. See Dkt. No. 2459;

                                                                3            WHEREAS, the deadline to file any motion to compel after the discover cut-off is

                                                                4   September 12, 2014 (L.R. 37-3);

                                                                5            WHEREAS, on August 1, 2014, the Plaintiffs served their First Set of Requests for

                                                                6   Admission on Philips;

                                                                7            WHEREAS, on September 5, 2014, Philips served its Responses to Plaintiffs’ First Set of

                                                                8   Requests for Admission and stated objections on various grounds;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                9            WHEREAS, on September 10, 2014, counsel for the undersigned parties held telephonic

                                                               10   meet and confers to discuss deficiencies in Philips’ responses identified by Plaintiffs and have a

                                                               11   bona fide intent to continue doing so;
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                                                               12            WHEREAS, the Plaintiffs and Philips have conferred by and through their counsel and,
                                               L OS A NGELES




                                                               13   subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

                                                               14            1.     Subject to the parties’ meet and confer discussion, the Plaintiffs provided Philips

                                                               15                   with a revised list of documents.

                                                               16            2.     Subject to the parties’ meet and confer discussion, Philips will review the revised

                                                               17                   list for inclusion on a declaration or stipulation related to their authenticity and

                                                               18                   business record status by September 26, 2014.

                                                               19            3.     The undersigned parties agree to extend the deadline for the Plaintiffs to file a

                                                               20                   motion to compel relating to the Plaintiffs First Set of Requests for Admission, to

                                                               21                   the extent one is deemed necessary by Plaintiffs, to October 3, 2014.
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                                                               23   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                            October 2, 2014                                               APPRO
                                                                    Dated: _________________                            _____________________________________
                                                                                                                                                                     R NIA




                                                               25                                                       Hon. Samuel Conti
                                                               26                                                       United States District Court Judge   onti
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                                                                                                                            STIPULATION AND    S T RTO   T EXTENDING THE
                                                                                                                                                    I CCOMPEL
                                                                                                                                                        ORDER
                                                                    60835670.1                                    -3-       DEADLINE TO FILE MOTION            PHILIPS TO
                                                                                                                            RESPOND TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                                                                                                                            ADMISSION
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                                                                                                   ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                                                1   DATED: September 12, 2014

                                                                2                                  By: /s/ Laura E. Nelson_______________
                                                                                                         Roman M. Silberfeld
                                                                3                                        David Martinez
                                                                                                         Laura E. Nelson
                                                                4
                                                                                                   Attorneys for Plaintiffs Best Buy Co., Inc.; Best Buy
                                                                5                                  Purchasing LLC; Best Buy Enterprise Services, Inc.;
                                                                                                   Best Buy Stores, L.P.; BESTBUY.COM, LLC; Magnolia
                                                                6                                  Hi-Fi, LLC

                                                                7
                                                                                                     /s/ Lauren C. Russell
                                                                8
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                                     Lauren C. Russell
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                                                               11                                    Fax: 415.346.0679
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                                                                                                     Lead Counsel for the Indirect
                                                               12                                    Purchaser Plaintiffs
                                               L OS A NGELES




                                                               13

                                                               14                                    By: /s/ Charles Malaise ___________
                                                                                                       Charles Malaise
                                                               15
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                                                               19
                                                                                                       Attorneys for Defendants Koninklijke Philips
                                                               20                                      N.V. and Philips Electronics North America
                                                                                                       Corporation
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                                                                                                                STIPULATION AND [PROPOSED] ORDER EXTENDING THE
                                                                    60835670.1                         -4-      DEADLINE TO FILE MOTION TO COMPEL PHILIPS TO
                                                                                                                RESPOND TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                                                                                                                ADMISSION
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                                                                    60835670.1                                                   CERTIFICATE OF SERVICE
